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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


SELECTIVE INSURANCE COMPANY                                   )
OF THE SOUTHEAST, AND                                         )
SELECTIVE INSURANCE COMPANY OF                                )
AMERICA,                                                      )
                                                              )
                       Plaintiffs,                            )
                                                              )
vs.                                                           )
                                                              ) C.A. NO. ________________
STEADFAST INSURANCE COMPANY                                   )
                                                              )
                       Defendant,                             )
                                                              )
BETHANY COMMUNITY SERVICES, INC.,                             )
SARAH’S PLACE ADULT DAY HEALTH                                )
CENTER, INC., ROBERT LAVANGA,                                 )
NANCY WALSH BY SHANNON THOMAS-                                )
GEORGE UNDER POWER OF ATTORNEY,                               )
                                                              )
                       Interested Parties.                    )


                     COMPLAINT FOR DECLARATORY JUDGMENT

                                        INTRODUCTION

       Plaintiffs, Selective Insurance Company of the Southeast and Selective Insurance

Company of America (collectively, “Selective” or “defendants”), bring this action against

Defendant, Steadfast Insurance Company (“Steadfast”), and Interested Parties, Sarah’s Place

Adult Day Health Center, Inc., Robert Lavanga, and Nancy Walsh, by Shannon Thomas-George

acting under a Power of Attorney for Nancy Walsh, to obtain a declaratory judgment pursuant to

28 U.S.C. §2201 and Fed. R. Civ. P. 57 to resolve an actual controversy between the parties

concerning their respective rights, obligations and liabilities under separate liability insurance

policies issued by Steadfast and Selective.



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       This action specifically seeks a determination regarding Steadfast and Selective’s

respective obligations to defend and/or indemnify Sarah’s Place Adult Day Health Center, Inc.

and Robert Lavanga (collectively, the “Insureds”) against claims asserted in an underlying civil

action captioned Shannon Thomas-George, Under Power of Attorney for Nancy R. Walsh v.

Sarah’s Place Adult Health Center, Inc. et al., assigned C.A. No. 18CV423B in Suffolk County

Superior Court (the “Underling Action”) under the terms, conditions and limitations of

Steadfast’s Health Care Liability insurance policy and Selective’s Business Automobile

insurance policies.

       Selective also brings this action to obtain equitable contribution and/or subrogation from

Steadfast for the defense and/or settlement costs incurred by Selective in connection with the

Underlying Action given Steadfast’s wrongful denial of coverage for the claims asserted against

its Insureds under its Health Care Liability Policy and Selective’s written reservation of its right

to contest the extent and availability of coverage afforded by its Business Auto policy.

       For the reasons shown below, plaintiffs request that the Court adjudicate the parties’

rights and obligations under the policies issued by Steadfast and Selective and enter a declaration

that: (a) directs Steadfast to provide the Insureds with defense and indemnification coverage

against the claims asserted in the Underlying Action under its Health Care Liability Policy; (b)

orders Steadfast to reimburse the defense costs incurred by Selective; and (c) relieves Selective

of any obligation to provide the Insureds with defense or indemnification coverage against the

plaintiffs’ claims under its Policy and allows Selective to withdraw from the Insureds’ defense in

the Underlying Action.




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                                         THE PARTIES

       1.       The Plaintiff, Selective Insurance Company of the Southeast, is a duly licensed

insurance company organized under the laws of the State of Indiana with its principal place of

business located at 11711 North Meridian Street, Suite 800, Carmel, Indiana 46032.

       2.       The plaintiff, Selective Insurance Company of America, is a duly licensed

insurance company organized under the laws of the State of New Jersey with its principal place

of business located at 40 Wantage Avenue, Branchville, New Jersey.

       3.       The defendant, Steadfast Insurance Company, is a duly licensed insurance

company organized under the laws of the State of Delaware with its principal place of business

located at 1400 American Lane, Schaumberg, Illinois.

       4.       Interested party, Bethany Community Services, Inc. (“Bethany Community

Services”) is a non-profit corporation organized under the laws of the Commonwealth of

Massachusetts with its principal place of business located at 180 Water Street, Haverhill,

Massachusetts.

       5.       Interested party, Sarah’s Place Adult Day Health Center, Inc. (“Sarah’s Place”), is

a non-profit corporation organized under the laws of the Commonwealth of Massachusetts with

its principal place of business located at 180 Water Street, Haverhill, Massachusetts.

       6.       Interested party, Robert Lavanga, is an individual who resides in Atkinson, New

Hampshire. Robert Lavanga was employed by Sarah’s Place during the relevant time periods at

issue in the Underlying Action.

       7.       Interested party, Nancy Walsh is an individual who currently resides at the

Brigham Health and Rehabilitation Center in Newburyport, Massachusetts.




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        8.       Interested party Shannon Thomas-George is an individual who resides at 150 ½

Oakland Avenue, Methuen, MA. Shannon Thomas-George filed the Underlying Action on behalf

of Nancy Walsh pursuant to her power of attorney.


                                      JURISDICTION AND VENUE

        9.       This Court has original jurisdiction over this action pursuant to 28 U.S.C. §1332

(a)(1), because the matter in controversy exceeds the sum or value of $75,000, exclusive of

interest and costs, and there is complete diversity of citizens between the parties.

        10.      This Court is authorized to grant the parties relief under the Declaratory Judgment

Act, 28 U.S.C. §§2201-02, implemented through Rule 57 of the Federal Rules of Civil

Procedure.

        11.      Venue is proper under 28 U.S.C. §1391(b) because this dispute concerns the

extent and availability of coverage afforded by insurance policies issued to insureds located in

this judicial district for claims asserted in an Underlying Action initiated to recover for injuries

allegedly sustained in an accident in this judicial district.


                                  THE UNDERLYING ACTION

        12.      In March 2018, Shannon Thomas-George, acting under a power of attorney for

her mother, Nancy Walsh, filed a civil lawsuit assigned C.A. No. 1877CV00423 in

Massachusetts Superior Court, Essex County, against Sarah’s Place Adult Day Health Center,

Inc. to recover for the injuries Nancy Walsh allegedly sustained as a result of a May 9, 2017

Accident.

        13.      In June 2018, Shannon Thomas-George filed an amended complaint on behalf of

Nancy Walsh that added Sarah’s Place employee, Robert Lavanga, as a defendant to the




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Underlying Action. A true copy of the First Amended Complaint in the Underlying Action is

attached hereto as Exhibit A.

       14.      The First Amended Complaint in the Underlying Action (the “Complaint”)

alleges that Nancy Walsh was regularly transported to and from the adult day program she

attended at Sarah’s Place, located in Haverhill, Massachusetts, via a van operated and controlled

by Sarah’s Place.

       15.      The Complaint alleges that Nancy Walsh sustained head and brain injuries when

she fell while Sarah’s Place employee, Robert Lavanga, was helping her return to her home on

May 9, 2017 (the “Accident”).

       16.      The Complaint alleges that Nancy Walsh was a known fall risk who used a

harness when attending and traveling to and from the Sarah’s Place adult day program.

       17.      The Complaint alleges that Sarah’s Place failed to use due care in carrying out its

duty to train and supervise their employees in caring for, assisting, and transporting adult day car

participants.

       18.      The Complaint also alleges that Sarah’s Place failed to use due care in training

and supervising its employees regarding Nancy Walsh’s need for “direct hands on support and

care” when transporting her to and from her residence given her status as a known fall risk.

       19.      The Complaint alleges that Sarah’s Place and Lavanga’s alleged failure to use due

care in “transporting, loading, unloading and conveying” Nancy Walsh from the van used by

Sarah’s Place to her home was the proximate cause of her Accident.

       20.      The plaintiff’s Complaint asserts the following causes of action against Sarah’s

Place: (a) negligence; (b) negligent supervision and training; (c) negligent rendering of care to a

vulnerable party; and (d) breach of contract.



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       21.     The plaintiff’s Complaint asserts the following causes of action against Lavanga:

(a) negligence; (b) negligent rendering of care to a vulnerable party; and (c) breach of contract.

       22.     In July 2018, plaintiff’s counsel submitted a written settlement demand for

$3,000,000.00 to Sarah’s Place’s defense counsel. Plaintiffs’ settlement demand was based in

part upon the contention that Nancy Adams has incurred approximately $667,000 in medical

expenses as a consequence of the Accident.

       23.     The trial in the civil action is currently scheduled for January 9, 2020.

                                       ADDITIONAL FACTS

       24.      In January 2017, Shannon Thomas-George, acting under a power of attorney for

Nancy Walsh, and Sarah’s Place entered into a written agreement concerning Nancy Walsh’s

participation in an adult day health program located in Haverhill, Massachusetts pursuant to

specified daily tuition and transportation charges (the “Agreement”).

       25.     The Agreement describes Nancy Walsh as a “participant” in the Sarah’s Place

adult day health program.

       26.     As noted in the Agreement, a true copy of which is attached hereto as Exhibit B,

Sarah’s Place is a nonprofit organization that is licensed by the Massachusetts Department of

Public Health. The services provided to program participants by Sarah’s Place include personal

care assistance, social services support, meals, communications with the participant’s

physician(s), monitoring by a Registered Nurse, and transportation to and from the participant’s

residence.

       27.     Sarah’s Place is a facility operated by Bethany Community Services, a non-profit

organization located in Haverhill, Massachusetts that provides affordable housing and services to

elderly individuals.



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       28.     At the time of the Accident, Sarah’s Place qualified as an insured under a primary

and an excess/umbrella healthcare liability policy issued to Bethany Community Services by

Steadfast and a primary business auto policy issued by Selective for the May 15, 2016 to May

15, 2017 policy period (the “Selective Policy”). A true copy of the Steadfast primary Health

Care Liability policy issued to Bethany Community Services for the May 15, 2016 to May 15,

2017 policy period (the “Steadfast Policy”) is attached hereto as Exhibit C and a true copy of the

Selective Policy is attached hereto as Exhibit D.

       29.     On May 10, 2017, the day after Nancy Walsh’s Accident, Selective received its

initial notice of the Accident via a telephone call from the insurance agent for Sarah’s Place and

Bethany Community Services.

       30.     Sarah’s Place and/or Bethany Community Services, Inc. also reported the

Accident to Steadfast under its Health Care Liability Policy.

       31.     As part of its investigation into the Accident, Selective obtained information from

Sarah’s Place and Robert Lavanga regarding the events surrounding the Accident.

       32.     During those discussions, Sarah’s Place and Robert Lavanga told Selective that

the Accident occurred at the entrance to Nancy Walsh’s residence when Robert Lavanga briefly

let go of her gait belt to open the door to help her into her home.

       33.     Robert Lavanga was helping Nancy Walsh return to her residence because no one

came to the van to accompanying her into the house when he honked the horn a few times to

alert her family members to their arrival.

       34.     At the time of the Accident, Nancy Walsh used a walker for mobility support.




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       35.     While Nancy Walsh told Robert Lavanga that she could make her own way into

her home, Lavanga decided to help her get from the parked van to her front door, a distance of

approximately fifteen to eighteen feet up a slight incline.

       36.     When they arrived at the front door, Lavanga had to let go of Nancy Walsh’s gait

belt to reach for the door knob to open the door. When he did so, she fell backwards, striking her

head on the ground.

       37.     Lavanga remained with Nancy Walsh, who remained conscious after her fall,

until the EMTs arrived to assist her.

       38.     While awaiting the arrival of the EMTs, one or more of Nancy Walsh’s family

members emerged from her residence to check on her status.

       39.     Via letter dated June 7, 2017, Selective informed Sarah’s Place of its

determination that its Policy would not afford coverage for any potential claims arising out of the

Accident because Nancy Walsh’s injuries were not caused by an “accident” resulting from the

“ownership, maintenance or use of a covered ‘auto’” within the scope of the insuring agreement

in the Selective Policy.

       40.     Selective also reserved its right to rely upon the professional services exclusion

contained in its Policy in its June 7, 2017 disclaimer, a true copy of which is attached hereto as

Exhibit E.

       41.     In its June 7, 2017 disclaimer, Selective explained that its coverage position was

based upon information available at that time and requested that Sarah’s Place promptly notify it

of any lawsuit filed on Nancy Walsh’s behalf regarding the Accident.

       42.     Via email dated June 12, 2017 and correspondence dated June 27, 2017, true

copies of which are attached as Exhibit F and G, Steadfast informed Sarah’s Place of its



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preliminary determination that its Health Care Liability Policy issued to Bethany Community

Services, Inc. would not afford coverage for any potential claims arising out of the Accident.

       43.     In its written communications with Sarah’s Place and Bethany Community

Services, Steadfast stated that its coverage disclaimer rested upon its determination that (a)

Nancy Walsh’s Accident was not caused by a “Medical Incident” as defined in the Health Care

Professional Liability coverage part of its Policy; and (b) the “auto use” exclusion contained in

the Policy’s Commercial General Liability coverage part precluded coverage for any claims

concerning the Accident.

       44.     In support of its determination that the Auto Use Exclusion contained in its Policy

precludes coverage for any claims arising out of the Accident, Steadfast referred to the statement

in the Exclusion that “Use includes operations and Loading or Unloading. Use also includes

the loading and unloading of patients.” (Emphasis in original).

       45.     The Steadfast Policy defines the bolded phrase “Loading or Unloading” contained

in its Exclusion to mean the “handling of property. . . ”.

       46.     Steadfast’s “Loading and Unloading” definition does not refer to the

transportation of individuals.

       47.     The references to “loading and unloading” and “patient” in the additional

sentence contained in the auto use exclusion in the Steadfast Policy are not defined.

       48.     To date, Steadfast has not offered any support for its assertion that Nancy Walsh

qualified as a “patient” of Sarah’s Place, rather than a “participant” in its adult day care program.

       49.     As noted above, the Agreement between Sarah’s Place and Nancy Walsh

describes her as a “participant” not as a patient.

       50.     On information and believe, Sarah’s Place is not a licensed medical provider.



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       51.     In response to a request for reconsideration conveyed by Sarah’s Place’s

insurance agent, Selective agreed, via letter dated June 20, 2017, to withdraw its disclaimer and

continue its investigation into the potential availability of coverage for any claims arising out of

the Accident pursuant to a reservation of rights. A true copy of Selective’s June 20, 2017

correspondence is attached hereto as Exhibit H.

       52.     To date, Steadfast has declined to reconsider or withdraw its June 12, 2017

disclaimer or to participate with Selective in providing the Insureds with defense coverage

against the claims asserted in the Action under a reservation of rights.

       53.     Instead, following its receipt of the initial complaint filed against Sarah’s Place in

the Underlying Action, Steadfast reiterated its denial of coverage for any claims arising out of

the Accident via a one paragraph letter dated April 12, 2018.

       54.     As grounds for its April 12, 2018 disclaimer, a true copy of which is attached

hereto as Exhibit I, Steadfast informed Sarah’s Place that it is “quite clear that plaintiff Walsh

continues to allege the loss arose from the loading and unloading process overseen and handled

by your employees at the time she was dropped off at her Methuen MA home.”

       55.     Upon information and belief, Steadfast has not provided Sarah’s Place or Robert

Lavanga with a written explanation of its coverage position concerning the application of its

Health Care Liability Policy to the claims and allegations asserted against Robert Lavanga in the

amended complaint filed in the Underlying Action.

       56.     Upon information and belief, Steadfast has not provided Sarah’s Place or Robert

Lavanga with a written explanation of its coverage position concerning the application of its

Excess/Umbrella liability policy issued to Bethany Community Services, Inc. to the claims and

allegations contained in the initial and/or amended complaints filed in the Underlying Action.



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       57.     In contrast, following its receipt and review of the initial complaint filed against

Sarah’s Place in the Underlying Action, Selective agreed via letter dated June 14, 2018 to

provide Sarah’s Place with defense coverage against the claims asserted in the Underlying

Action pursuant to a full and complete reservation of rights.

       58.     In its June 14, 2018 reservation of rights correspondence, a true copy of which is

attached hereto as Exhibit J, Selective informed Sarah’s Place that it is unclear whether its

Business Auto Policy affords coverage for the injuries Nancy Walsh sustained as a result of the

accidental fall “at the doorway of her residence, not in or near the vehicle, and while the vehicle

was not in use.”

       59.     As Selective noted in its June 14, 2018 reservation of rights, the insuring

agreement in its Policy only affords coverage for claims seeking to impose liability upon an

insured for bodily injury or property damage caused by an accident that results from the

“ownership, maintenance or use of a covered auto.”

       60.     Unlike some business auto policies, the Selective Policy does not include any

references to “loading and unloading operations” in its insuring agreement.

       61.     Following its receipt and review of the amended complaint naming Robert

Lavanga as a defendant in the Underlying Action, Selective informed Lavanga and Sarah’s Place

that it would provide him with defense coverage against the claims asserted in the Underlying

Action pursuant to a reservation of rights.

       62.     Selective confirmed its agreement to defend Lavanga in the Underlying Action

pursuant to a reservation of rights via letter dated September 20, 2018, a true copy of which is

attached hereto as Exhibit K.




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       63.     Via subsequent discussions and the exchange of written communications,

Selective informed Steadfast that it disagreed with its asserted right to rely upon the auto use

exclusion contained in its Health Care Liability Policy to deny both defense and indemnity

coverage for the claims asserted in the Underlying Action.

       64.     During these discussions, Selective conveyed its position that the allegations

contained in the plaintiff’s Complaint could reasonably be construed as seeking to recover for

injuries caused by allegedly negligent acts or omissions that lacked the requisite nexus to the use

or operation of an automobile.

       65.     Through its undersigned counsel, Selective also provided Steadfast with a detailed

written explanation of the Massachusetts legal authorities that support its position that the auto

use exclusion contained in Steadfast’s Policy does not relieve it of its obligation to afford Sarah’s

Place and Robert Lavanga with defense and indemnification coverage for the plaintiff’s claims.

A true copy of the September 24, 2019 letter sent to Steadfast by Selective’s undersigned counsel

is attached hereto as Exhibit L.

       66.     In addition to its failure to give appropriate consideration to plaintiffs’ assertion of

allegations that state a potentially covered claim encompassed by Steadfast’s Policy, Steadfast

has also failed to consider extrinsic evidence that supports the determination that Nancy Walsh’s

accidental fall at the entrance to her residence was not caused by Lavanga’s use or operation of

the Sarah’s Place van, which was parked several feet away from the fall location.

       67.     When examined against the allegations contained in the plaintiff’s complaint and

extrinsic information that was available to Steadfast when its issued its April 12, 2018 and June

27, 2017 coverage disclaimers, Steadfast cannot establish that its auto use exclusion




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unequivocally eliminates the availability of coverage for the plaintiff’s claims against Sarah’s

Place and Robert Lavanga.

        68.        Contrary to its assertions, Steadfast cannot establish that Nancy Walsh’s Accident

was caused by Robert Lavanga’s operation or use of the Sarah’s Place van, which was parked

several feet away when she fell at the entrance to her home.

        69.        Contrary to its assertions, Steadfast cannot establish that the “loading and

unloading of patients” provision contained in its auto use exclusion eliminates the availability of

coverage for the plaintiff’s claims because Nancy Walsh was not a “patient” of Sarah’s Place at

the time of her Accident.

        70.        At a minimum, the dual references to “Loading and Unloading,” a defined term

that refers to the movement of property, and the reference to the “loading and unloading of

patients” renders the auto use Exclusion contained in Steadfast’s Policy ambiguous as applied to

the relevant factual circumstances, requiring that Steadfast err on the side of affording coverage

for this matter.

        71.        To date, Selective has incurred approximately $28,000.00 in defense costs on

behalf of Sarah’s Place and Robert Lavanga in the Underlying Action.


        THE RELEVANT SELECTIVE BUSINESS AUTO POLICY PROVISIONS


        72.        The Selective Business Automobile Liability Policy No. A9100051 issued to

Sarah’s Place for the May 15, 2017 through May 15, 2017 policy period, Exhibit C hereto,

contains the following applicable insuring agreement:


SECTION II — LIABILITY COVERAGE
    A. Coverage



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        We will pay all sums an “insured” legally must pay as damages because of “bodily
        injury” or “property damage” to which this insurance applies, caused by an “accident”
        and resulting from the ownership, maintenance or use of a covered “auto”…

        73.    Unlike some automobile liability policies, the Selective Policy does not state that

the “ownership, maintenance or use” of covered auto includes the “loading and unloading” of an

automobile.

        74.    The Selective Policy contains a $1 million per accident limit of liability.

        75.    The Selective Policy defines “accident” to include “continuous or repeated

exposure to the same conditions resulting in ‘bodily injury’ or ‘property damage’.”

        76.    The van driven by Robert Lavanga on the day of the Accident was listed as a

covered auto on the Policy’s declaration page.

        77.    The Policy’s “Who is an Insured” section includes permissive users of a covered

auto.

        78.    Robert Lavanga qualifies as an insured under the Selective Policy because he was

using a covered auto on the date of the Accident.

        79.    The Selective Policy contains the following professional services exclusion added

by Endorsement:

This insurance does not apply to:

        1. “Bodily injury” resulting from the providing or the failure to provide any medical or
        other professional service.

        80.    The Policy’s definition of “Bodily injury” means “bodily injury, sickness or

disease sustained by a person including death resulting from any of these.”




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                      THE RELEVANT STEADFAST POLICY PROVISIONS


        81.      The Steadfast Health Care Liability Policy No. GLO-9808223-02 issued to

Bethany Community Services, Inc. for the May 15, 2016 to May 15, 2017 policy period, Exhibit

D hereto, includes a Health Care Professional Liability coverage part of and a Commercial

General Liability coverage part.

        82.      The Commercial General Liability coverage part of the Steadfast Policy (the

“CGL Coverage Part”) includes the following insuring agreement:

        83.      The Steadfast Policy’s CGL Coverage Part contains a $1 million per occurrence

limit of liability.

        84.      The Steadfast Policy’s “Who is an Insured” provisions, as amended by

Endorsement, include Sarah’s Place as an insured.

        85.      The Steadfast Policy’s “Who is an Insured” provisions afford insured status to

Sarah’s Place employees for acts within the scope of their employment or while performing

duties relating to the conduct of the insured entity’s business.

        86.      Lavanga qualifies as an insured under the Steadfast Policy.

        87.      The Steadfast Policy CGL Coverage Part includes the following Exclusion:


    2. Exclusions
       This insurance does not apply to: * * *
        e. Aircraft, Auto or Watercraft
        Bodily Injury or Property Damage arising out of the ownership, maintenance, use or
        entrustment to others of any aircraft, Auto or watercraft owned or operated by or rented
        or loaned to any Insured. Use includes operation and Loading or Unloading. Use also
        includes the loading and unloading of patients.
        88.      The Steadfast Policy defines the bolded term “Loading or Unloading” as follows:

        Loading or Unloading means the handling of property:

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       1. After it is moved from the place where it is accepted for movement into on onto an
          aircraft, watercraft or Auto;

       2. While it is on an aircraft, watercraft or Auto;

       3. While it is being moved from an aircraft, watercraft or Auto to the place where is it
          finally delivered, but Loading or Unloading does not include the movement of
          property by means of a mechanical device, other than a hand truck, that is not
          attached to the aircraft, watercraft or Auto.

       89.      Steadfast also issued an excess/umbrella liability policy No. AEC9808224-02 to

Bethany Community Services, Inc. for the May 15, 2016 to May 15, 2017 policy period (the

“Umbrella Policy”).

       90.     The Umbrella Policy contains an excess follow form coverage part that affords

specified coverage over the Steadfast primary Health Care Liability Policy and the Selective

Business Auto Policy, subject to a $2 million limit of liability.


                  COUNT I – CLAIM FOR DECLARATORY JUDGMENT
                                 (Against Steadfast)

       91.     Selective repeats and reaffirms the allegations on contained in the foregoing

Paragraphs 1 through 90 as if fully set forth herein.

       92.     The actual controversy that has arisen between the parties regarding their

respective rights and obligations concerning the extent and availability of coverage afforded by

the Steadfast Health Care Liability Policy can be eliminated by a declaratory judgment from the

Court pursuant to 28 U.S.C. §2201.

       93.     Specifically, based upon the foregoing, Selective requests that the Court

determine and declare that the CGL Coverage Part of the Steadfast Policy affords defense

coverage for the claims asserted against Sarah’s Place and Robert Lavanga in the Underlying

Action because the allegations in the Complaint, coupled with available extrinsic evidence, are


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reasonably susceptible of the interpretation that the underlying plaintiff’s claims seek to impose

liability upon the Insureds for injuries which were caused, in whole or in part, by alleged acts or

omissions that fall outside the scope of the Auto Use Exclusion contained in the Steadfast Policy.

       94.     Selective further requests that the Court determine and declare that the CGL

Coverage Part of the Steadfast Policy affords indemnity coverage for any liability imposed upon

Sarah’s Place and Robert Lavanga in the Underlying Action for injuries which were caused, in

whole or in part, by alleged acts or omissions that fall outside the scope of the Auto Use

Exclusion contained in the Steadfast Policy.

       95.     In addition, Selective requests that the Court determine and declare that Nancy

Walsh was not a “patient” at the time of the Accident for purposes of the non-defined phase

“loading and unloading” contained in the Auto Use Exclusion contained in the Steadfast Policy.

       96.     Selective also requests that the Court determine and declare that the “loading and

unloading” provisions contained in the Auto Use Exclusion contained in the Steadfast Policy are

ambiguous as applied to the facts and allegations at issue in the Underlying Action and that the

ambiguity must be resolved in favor of affording coverage for the claims asserted in the

Underlying Action.

       97.     In addition, Selective requests that the Court determine and declare that the

Steadfast Umbrella Policy affords defense and/or indemnification coverage for the claims

asserted against Sarah’s Place and Robert Lavanga in the Underlying Action to the extent that

they seek to impose liability upon the Insureds for amounts in excess of the $1 million per

occurrence limit contained in the underlying Steadfast Policy.




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                           COUNT II – DECLARATORY JUDGMENT
                           (Against Sarah’s Place and Robert Lavanga)

       98.     Selective repeats and reaffirms the allegations on contained in the foregoing

Paragraphs 1 through 97 as if fully set forth herein.

       99.     The actual controversy that has arisen between the parties regarding their

respective rights and obligations concerning the extent and availability of coverage afforded by

the Selective Business Auto Policy can be eliminated by a declaratory judgment from the Court

pursuant to 28 U.S.C. §2201.

       100.    Specifically, based upon the foregoing, Selective requests that the Court

determine and declare that Sarah’s Place and Robert Lavanga are not entitled to obtain defense

coverage under the Business Auto Policy for the claims asserted against them in the Underlying

Action because Nancy Walsh’s alleged injuries were not caused by an “accident” resulting from

the “ownership, maintenance or use of a ‘covered auto’” as required to satisfy the Policy’s

insuring agreement.

       101.    Selective further requests that the Court determine and declare that Sarah’s Place

and Robert Lavanga are not entitled to obtain indemnification coverage under the Business Auto

Policy for any liability imposed upon them, and/or settlement entered into to eliminate their

potential exposure to liability for, injuries sustained by Nancy Walsh that were caused by any

acts or omissions that lacked a sufficient causal nexus to the “ownership, maintenance or use of a

‘covered auto’” for purposes of satisfying the Business Auto Policy’s insuring agreement.

       102.    Selective further requests that the Court determine and declare that Selective is

entitled to withdraw defense coverage for the claims asserted against Sarah’s Place and Robert

Lavanga in the Underlying Action because the Steadfast Health Care Liability and Umbrella

Policies govern their entitlement to coverage for the claims asserted in the Underlying Action.

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             COUNT III – EQUITABLE CONTRIBUTION AND/OR SUBROGATION
                                  (Against Steadfast)

        103.    Selective repeats and reaffirms the allegations on contained in the foregoing

Paragraphs 1 through 102 as if fully set forth herein.

        104.    As a consequence of Steadfast’s wrongful refusal to defend Sarah’s Place and

Robert Lavanga against the claims asserted in the Underlying Action, Selective has been forced

to incur and pay defense costs which should have been paid, in whole or in part, by Steadfast

under its Health Care Liability Policy.

        105.    Given the foregoing, Selective requests that the Court grant Selective the right to

obtain equitable contribution and/or subrogation against Steadfast and order it to reimburse no

less than half of the defense costs Selective has incurred on behalf of Sarah’s Place and Robert

Lavanga in the Underlying Action.


                                      REQUEST FOR RELIEF


        WHEREFORE, Plaintiffs, Selective Insurance Company of the Southeast and Selective

    Insurance Company of America, respectfully request that the Court enter an Order:


        A.      declaring that Steadfast Insurance Company is obligated to defend and indemnify

Sarah’s Place and Robert Lavanga against the claims asserted in, and/or any liability imposed

upon them, in the Underlying Action under the terms of the applicable Health Care Liability

Policy and Excess/Umbrella policies issued by Steadfast, up to the specified liability limits set

forth in said Policies;

        B.      declaring that Selective does not owe Sarah’s Place and Robert Lavanga defense

and/or indemnification coverage against the claims asserted in, and/or any liability imposed upon




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them, in the Underlying Action under the terms of the applicable Business Auto Policy issued by

Selective;

       C.      awarding Plaintiffs an amount equal to all, or at least half, of the defense costs

incurred by Selective in connection with the Underlying Action; and

       D.      granting Plaintiffs such other and further relief as the Court deems just and

appropriate.

                                              SELECTIVE INSURANCE COMPANY OF THE
                                              SOUTHEAST, and SELECTIVE INSURANCE
                                              COMPANY OF AMERICA,
                                              By their Attorneys,


                                              /s/ Barbara   A. O’Donnell______________________
                                              Barbara A. O'Donnell, BBO #544458
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Dated: November 7, 2019




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